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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 STAR INSURANCE COMPANY,                           §
                                                   §
                                    Plaintiff,     §
                                                   §
 v.                                                §        CIV. ACTION NO. 4:23-cv-4577
                                                   §
 MILITARY HIGHWAY WATER                            §
 SUPPLY CORPORATION                                §
                                                   §
                                 Defendant.        §


              ORIGINAL COMPLAINT FOR DECLARATORY JUDGMENT


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Plaintiff, Star Insurance Company (“Star”), and files this its Original

Complaint for Declaratory Judgment against Defendant Military Highway Water Supply

Corporation (“MHWSC”), and would respectfully show the Court the following:

                                           I.    PARTIES

        1.     Plaintiff, Star Insurance Company, is a corporation domiciled in Michigan, with its

principal place of business in Michigan. Star is an eligible surplus lines insurer that is admitted to

transact business in the State of Texas.

        2.     Defendant, Military Highway Water Supply Corporation, is a Texas nonprofit

corporation, with its principal places of business in Cameron and Hidalgo Counties. It may be

served with process by serving its registered agent for service of process, Ramon Rosales, Jr., 4000

U.S. Highway 281, Mercedes, Texas 78570. Star requests citation at this time.




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                              II.     JURISDICTION AND VENUE

        3.      The Court has diversity jurisdiction pursuant to 28 U.S.C. 1332(a). For purposes

of diversity of citizenship, Plaintiff Star is a citizen of the State of Michigan. Defendant MHWSC

is a citizen of the State of Texas. Therefore, the parties are citizens of different states, and complete

diversity exists between them.

        4.      The amount in controversy, exclusive of interests and costs, exceeds $75,000. The

underlying lawsuit made the basis of this insurance coverage declaratory judgment action includes

in excess of five hundred plaintiffs, and states that the amount in controversy exceeds $1,000,000.

        5.      Venue is properly maintained in this Court because it is the judicial district in which

the litigation made the basis of this declaratory judgment action is pending, because it is the judicial

district in which the actions and/or events giving rise to the underlying lawsuit occurred, and

because it is the judicial district in which a claim for insurance coverage was made.

                                            III.    FACTS

        A.      The Underlying Lawsuit

        6.      This declaratory judgment action involves insurance coverage for the lawsuit styled

Israel Lopez, et al. v. Military Highway Water Supply Corp., Cause No. 2016-DCL-07014, in the

445th Judicial District Court of Cameron County, Texas (the “Underlying Lawsuit”).

        7.      The Underlying Lawsuit concerns alleged personal injury, property damage, and

wrongful deaths from exposure to toxic products and substances. Specifically, the underlying

plaintiffs claim that they own, lease, and/or have constructed homes in Cameron County, Texas

along U.S. Highway 281, also known as “Military Highway.” MHWSC supplies water to the

underlying plaintiffs at their residences in Cameron County.




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        8.        The underlying plaintiffs allege that they were injured as a result of exposure to

MHWSC’s water. They contend that they received water that was brown/yellow in color, had a

distinct malodorous odor, foul taste, and contaminants. The underlying plaintiffs assert that they

were concerned about the water, and notified MHWSC on numerous occasions about the

impurities and unknown elements in the water. MHWSC allegedly assured each complaining

customer that the water was safe to consume. The underlying plaintiffs contend that they relied

upon the representation regarding safety, and continued to consume the water. As a direct result

of their continued consumption, however, they claim that they developed multiple bodily ailments.

These ailments include, but are not limited to, typhoid fever, skin rashes, pulmonary maladies,

nausea, damages to internal organs, and various cancers. The underlying plaintiffs also assert that

the water was corrosive and damaged their plumbing systems, appliances, and the plumbing

fixtures connected to residential water systems.

        9.        The underlying plaintiffs allege that at all relevant times, MHWSC provided water

service to consumers in Cameron County, Texas, including the underlying plaintiffs. They assert

that MHWSC knew for years that high levels of arsenic, tri-halomethanes, and other unhealthy

and unsafe contaminants were contained in the substandard water.

        10.       In the Underlying Lawsuit, the underlying plaintiffs claim that although the Texas

Commission on Environmental Quality has filed 59 administrative complaints against MHWSC

since 2005, nothing has changed.         They allege that despite MHWSC’s knowledge of the

substandard water, it failed to adequately warn them of the dangers of using the water and provide

adequate directions regarding how to reduce the risk of illness. They claim that they, and their

children, have consequently been exposed to life-threatening illnesses and have become ill due to

their exposure.


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        11.    The underlying plaintiffs allege that MHWSC violated the Texas Deceptive Trade

Practices Act by engaging in an unconscionable course of action and in other respects, committed

common law fraud by making material false representations with knowledge of falsity, were

negligent and grossly negligent, misrepresented information in the course of a transaction in which

it has a pecuniary interest, breached contracts with the underlying plaintiffs, and substantially

interfered with the underlying plaintiffs’ private use and enjoyment of their property. They

contend that MHWSC violated multiple provisions of the Texas Administrative Code (including,

but not limited to, regulatory requirements pertaining to water, inorganic contaminants, organic

contaminants, radionuclides, microbial contaminants, disinfectant residuals, surface water

treatment, total organic carbon, stage 1 disinfection byproducts, other disinfection byproducts,

stage 2 disinfection byproducts, groundwater, regulation of lead and copper, etc.) in their failure

to deliver water free from contaminants, pollutants and impurities, and such violations proximately

caused the underlying plaintiffs’ damages. The underlying plaintiffs also allege that MHWSC’s

numerous violations of the Texas Administrative Code constitutes negligence per se. They claim

that MHWSC intentionally, negligently, and/or unreasonably interfered with and invaded the

underlying plaintiffs’ property by permitting contaminants into its water supply, which traveled

through MHWSC’s service pipes. The underlying plaintiffs allege that MHWSC is vicariously

liable for the acts and omissions of its subcontractors, employees, and agents, and that MHWSC’s

negligence may be inferred by facts and circumstances such that its culpability is established by

the doctrine of res ipsa loquitor. Finally, some of the underlying plaintiffs brought wrongful death

and survivorship claims.

        12.    The underlying plaintiffs seek to recover actual damages, damages for loss of use,

the cost to replace plumbing appliances and fixtures, “benefit of the bargain” damages, the cost of


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repairs, remedial costs and/or costs of completion, reasonable and necessary engineering or

consulting fees, reasonable expenses of temporary housing, expenses for psychiatric care and

monitoring, expenses for psychological care and counseling, the reasonable cost of past and future

medical care, the cost of past and future medical monitoring and prevention, damages for loss of

companionship, society, and guidance, and damages for loss of earnings, expenses, and support.

They claim that MHWSC’s alleged false, misleading, and deceptive acts, practices and/or

omissions were committed “knowingly” as provided by the DTPA, and that they are entitled to

recovery for mental anguish, multiple damages, exemplary damages., and attorneys’ fees.

        B.        The Star Primary Policies

        13.       Star issued a commercial general liability policy to MHWSC bearing policy number

CP0427022, effective for the period from March 1, 2009 to March 1, 2010 (the “2009 Primary

Policy”). The 2009 Primary Policy was subsequently renewed under the same policy number for

three additional policy periods:

                 CP0427022, effective for the period from March 1, 2010 to March 1, 2011 (the

                  “2010 Primary Policy”)

                 CP0427022, effective for the period from March 1, 2011 to March 1, 2012 (the

                  “2011 Primary Policy”)

                 CP0427022, effective for the period from March 1, 2012 to March 1, 2013 (the

                  “2012 Primary Policy”)

        14.       All four of the above-referenced commercial general liability policies contain the

same terms and conditions, and are collectively referred to herein as the “Star Primary Policies.”

        15.       The Star Primary Policies provide general liability coverage with limits of

$1,000,000 per occurrence, and $3,000,000 general aggregate.


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        16.    The Star Primary Policies contain the following insuring agreement (CG 00 01 12

04):

        SECTION I — COVERAGES

        COVERAGE         A   BODILY       INJURY     AND      PROPERTY        DAMAGE
        LIABILITY

        1.     Insuring Agreement

               a.     We will pay those sums that the insured becomes legally obligated
                      to pay as damages because of “bodily injury” or “property damage”
                      to which this insurance applies. We will have the right and duty to
                      defend the insured against any “suit” seeking those damages.
                      However, we will have no duty to defend the insured against any
                      “suit” seeking damages for “bodily injury” or “property damage” to
                      which this insurance does not apply. We may, at our discretion,
                      investigate any “occurrence” and settle any claim or “suit” that may
                      result. But:

                      (1)     The amount we will pay for damages is limited as described
                              in Section III – Limits Of Insurance; and

                      (2)     Our right and duty to defend ends when we have used up the
                              applicable limit of insurance in the payment of judgments or
                              settlements under Coverages A or B or medical expenses
                              under Coverage C.

                      No other obligation or liability to pay sums or perform acts or
                      services is covered unless explicitly provided for under
                      Supplementary Payments – Coverages A and B.

               b.     This insurance applies to “bodily injury” and “property damage”
                      only if:

                      (1)     The “bodily injury” or “property damage” is caused by an
                              “occurrence” that takes place in the “coverage territory”;

                      (2)     The “bodily injury” or “property damage” occurs during the
                              policy period; . . . .

        17.    The Star Primary Policies contain the following pertinent exclusions, which

provide that the insurance does not apply to:


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        a.   Expected Or Intended Injury

             “Bodily injury” or “property damage” expected or intended from the
             standpoint of the insured. This exclusion does not apply to “bodily injury”
             resulting from the use of reasonable force to protect persons or property.

                                             ***

        f.   Pollution

             (1)    “Bodily injury” or “property damage” arising out of the actual,
                    alleged or threatened discharge, dispersal, seepage, migration,
                    release or escape of “pollutants”

                    (a)     At or from any premises, site or location which is or was at
                            any time owned or occupied by, or rented or loaned to, any
                            insured. However, this subparagraph does not apply to:

                            (i)     “Bodily injury” if sustained within a building and
                                    caused by smoke, fumes, vapor or soot produced by
                                    or originating from equipment that is used to heat,
                                    cool or dehumidify the building, or equipment that is
                                    used to heat water for personal use, by the building’s
                                    occupants or their guests;
                            (ii)    “Bodily injury” or “property damage” for which you
                                    may be held liable if you are a contractor and the
                                    owner or lessee of such premises, site or location has
                                    been added to your policy as an additional insured
                                    with respect to your ongoing operations performed
                                    for that additional insured at that premises, site or
                                    location and such premises, site or location is not and
                                    never was owned or occupied by, or rented or loaned
                                    to, any insured, other than that additional insured; or

                            (iii)   “Bodily injury” or “property damage” arising out of
                                    heat, smoke or fumes from a “hostile fire”;

                    (b)     At or from any premises, site or location which is or was at
                            any time used by or for any insured or others for the
                            handling, storage, disposal, processing or treatment of
                            waste;
                    (c)     Which are or were at any time transported, handled, stored,
                            treated, disposed of, or processed as waste by or for:

                            (i)     Any insured; or
                            (ii)    Any person or organization for whom you may be

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                                  legally responsible; or

                   (d)    At or from any premises, site or location on which any
                          insured or any contractors or subcontractors working
                          directly or indirectly on any insured’s behalf are performing
                          operations if the “pollutants” are brought on or to the
                          premises, site or location in connection with such operations
                          by such insured, contractor or subcontractor. However, this
                          subparagraph does not apply to:

                          (i)     “Bodily injury” or “property damage” arising out of
                                  the escape of fuels, lubricants or other operating
                                  fluids which are needed to perform the normal
                                  electrical, hydraulic or mechanical functions
                                  necessary for the operation of “mobile equipment” or
                                  its parts, if such fuels, lubricants or other operating
                                  fluids escape from a vehicle part designed to hold,
                                  store or receive them. This exception does not apply
                                  if the “bodily injury” or “property damage” arises out
                                  of the intentional discharge, dispersal or release of
                                  the fuels, lubricants or other operating fluids, or if
                                  such fuels, lubricants or other operating fluids are
                                  brought on or to the premises, site or location with
                                  the intent that they be dispersed or released as part of
                                  the operations being performed by such insured,
                                  contractor or subcontractor;
                          (ii)    “Bodily injury” or “property damage” sustained
                                  within a building and caused by the release of gases,
                                  fumes or vapors from materials brought into that
                                  building in connection with operations being
                                  performed by you or on your behalf by a contractor
                                  or subcontractor; or

                          (iii)   “Bodily injury” or “property damage” arising out of
                                  heat, smoke or fumes from a “hostile fire”.

                   (e)    At or from any premises, site or location on which any
                          insured or any contractors or subcontractors working
                          directly or indirectly on any insured’s behalf are performing
                          operations if the operations are to test for, monitor, clean up,
                          remove, contain, treat, detoxify or neutralize, or in any way
                          respond to, or assess the effects of, “pollutants”.

             (2)   Any loss, cost or expense arising out of any:

                   (a)    Request, demand, order or statutory or regulatory

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                             requirement that any insured or others test for, monitor,
                             clean up, remove, contain, treat, detoxify or neutralize, or in
                             any way respond to, or assess the effects of, “pollutants”; or
                      (b)    Claim or “suit” by or on behalf of a government authority
                             for damages because of testing for, monitoring, cleaning up,
                             removing, containing, treating, detoxifying or neutralizing,
                             or in any way responding to, or assessing the effects of,
                             “pollutants”.

                             However, this paragraph does not apply to liability for
                             damages because of “property damage” that the insured
                             would not have in the absence of such request, demand,
                             order or statutory or regulatory requirement, or such claim
                             or “suit” by or on behalf of a governmental authority.

        18.    The Star Primary Policies contain the following endorsement:

        FUNGI OR BACTERIA EXCLUSION (CG 21 67 12 04)

        This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A.     The following exclusion is added to Paragraph 2. Exclusions of Section I
               – Coverage A – Bodily Injury And Property Damage Liability:

               2.     Exclusions

                      This insurance does not apply to:

                      Fungi Or Bacteria

                      a.     “Bodily injury” or “property damage” which would not have
                             occurred, in whole or in part, but for the actual, alleged or
                             threatened inhalation of, ingestion of, contact with, exposure
                             to, existence of, or presence of, any “fungi” or bacteria on or
                             within a building or structure, including its contents,
                             regardless of whether any other cause, event, material or
                             product contributed concurrently or in any sequence to such
                             injury or damage.
                      b.     Any loss, cost or expenses arising out of the abating, testing
                             for, monitoring, cleaning up, removing, containing, treating,
                             detoxifying, neutralizing, remediating or disposing of, or in
                             any way responding to, or assessing the effects of, “fungi”
                             or bacteria, by any insured or by any other person or entity.

                      This exclusion does not apply to any “fungi” or bacteria that are, are

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                     on, or are contained in, a good or product intended for bodily
                     consumption.

                                              ***

              C.     The following definition is added to the Definitions Section:

                     “Fungi” means any type or form of fungus, including mold or
                     mildew and any mycotoxins, spores, scents or byproducts
                     produced or released by fungi.

                                             ***
        19.   The Star Primary Policies contain the following pertinent definitions:

        SECTION V – DEFINITIONS

                                              ***

              3.     “Bodily injury” means bodily injury, sickness or disease sustained
                     by a person, including death resulting from any of these at any time.

                                              ***

              13.    “Occurrence” means an accident, including continuous or repeated
                     exposure to substantially the same general harmful conditions.

                                              ***

              15.    “Pollutants” mean any solid, liquid, gaseous or thermal irritant or
                     contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
                     chemicals, and wastes. Wastes includes materials to be recycled,
                     reconditioned or reclaimed.

                                              ***

              17.    “Property damage” means:

                     a.      Physical injury to tangible property, including all resulting
                             use of that property. All such loss of use shall be deemed to
                             occur at the time of the physical injury that caused it; or

                     b.      Loss of use of tangible property that is not physically
                             injured. All such loss of use shall be deemed to occur at the
                             time of the “occurrence” that caused it. . . .

                                              ***


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        C.        The Star Umbrella Policies

        20.       Star issued a commercial umbrella policy to MHWSC bearing policy number

UM0427022, effective for the period from March 1, 2009 to March 1, 2010 (the “2009 Umbrella

Policy”). The 2009 Umbrella Policy was subsequently renewed under the same policy number for

three additional policy periods:

                 UM0427022, effective for the period from March 1, 2010 to March 1, 2011 (the

                  “2010 Umbrella Policy”)

                 UM0427022, effective for the period from March 1, 2011 to March 1, 2012 (the

                  “2011 Umbrella Policy”)

                 UM0427022, effective for the period from March 1, 2012 to March 1, 2013 (the

                  “2012 Umbrella Policy”)

        21.       All four of the above-referenced commercial umbrella policies contain the same

terms and conditions, and are collectively referred to herein as the “Star Umbrella Policies.”

        22.       The Star Umbrella Policies list the Star Primary Policies in their Schedules of

Underlying Insurance. They sit on top of the Star Primary Policies.

        23.       The Star Umbrella Policies provide additional liability coverage to MHWSC with

limits of $4,000,000 per occurrence, and $4,000,000 general aggregate. Each of the Star Umbrella

Policies contains a $10,000 self-insured retention.

        24.       The Star Umbrella Policies contain the following insuring agreement (CU 00 01 12

07):

        SECTION I – COVERAGES

        COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY

        1.        Insuring Agreement


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               a.     We will pay on behalf of the insured the “ultimate net loss” in excess
                      of the “retained limit” because of “bodily injury” or “property
                      damage” to which this insurance applies. We will have the right and
                      duty to defend the insured against any “suit” seeking damages for
                      such “bodily injury” or “property damage” when the “underlying
                      insurance” does not provide coverage or the limits of “underlying
                      insurance” have been exhausted. When we have no duty to defend,
                      we will have the right to defend, or to participate in the defense of,
                      the insured against any other “suit” seeking damages to which this
                      insurance may apply. However, we will have no duty to defend the
                      insured against any “suit” seeking damages for “bodily injury” or
                      “property damage” to which this insurance does not apply. At our
                      discretion, we may investigate any “occurrence” that may involve
                      this insurance and settle any resultant claim or “suit”, for which we
                      have the duty to defend. . . .

        25.    The Star Umbrella Policies contain the following pertinent exclusion, which

provides that the insurance does not apply to:

               a.     Expected Or Intended Injury

                      “Bodily injury” or “property damage” expected or intended from the
                      standpoint of the insured. This exclusion does not apply to “bodily
                      injury” resulting from the use of reasonable force to protect persons
                      or property.

                                                 ***

        26.    The Star Umbrella Policies also contain the following endorsement:

                           EXCLUSION – LEAD (45 35 UM 03 06)

        This endorsement modifies insurance provided under the following:

        COMMERCIAL LIABILITY UMBRELLA COVERAGE FORM – CU 0001

        The following is added to 2. Exclusions under Section I – Coverage A – Bodily
        Injury and Property Damage and Coverage B – Personal and Advertising
        Injury Liability:

        This insurance does not apply to:

        Lead or Lead Compounds

        “Bodily injury”, “property damage”, or “personal and advertising injury” arising

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        out of, resulting from, caused or contributed to by:

        (1)    The toxic or pathological properties of lead, lead compounds or lead
               contained in any materials;

        (2)    Any loss, cost or expense to abate, mitigate, remove or dispose of lead, lead
               compounds or materials containing lead;

        (3)    Any supervision, instructions, recommendations, warnings or advice given
               or which should have been given in connection with parts (1) or (2) above;
        (4)    Any obligation to share damages with or repay someone else who must pay
               damages in connection with parts (1), (2) or (3) above.

                                                ***

        27.    The Star Umbrella Policies contain the following endorsement:

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
               IT CAREFULLY.

               TOTAL POLLUTION EXCLUSION WITH A BUILDING
               HEATING, COOLING, AND DEHUMIDIFYING EQUIPMENT
               EXCEPTION AND A HOSTILE FIRE EXCEPTION (CU 21 52 12 05)

               This endorsement modifies insurance provided under the following:

               COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

               Exclusion i. under Paragraph 2. Exclusions of Section I – Coverage A –
               Bodily Injury and Property Damage Liability is replaced by the
               following:

               i.      Pollution

                       (1)     “Bodily injury” or “property damage” which would not have
                               occurred in whole or part but for the actual, alleged or
                               threatened discharge, dispersal, seepage, migration, release
                               or escape of “pollutants” at any time. This exclusion does
                               not apply to:

                               (a)    “Bodily injury” if sustained within a building which
                                      is or was at any time owned or occupied by, or rented
                                      or loaned to, any insured and caused by smoke,
                                      fumes, vapor or soot produced by or originating from
                                      equipment that is used to heat, cool or dehumidify
                                      the building, or equipment that is used to heat water

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                                    for personal use, by the building’s occupants or their
                                    guests; or
                            (b)     “Bodily injury” or “property damage” arising out of
                                    heat, smoke or fumes from a hostile fire unless that
                                    “hostile fire” occurred or originated:

                                    (i)    At a premises, site or location which is or was
                                           at any time used by or for any insured or
                                           others for the handling, storage disposal,
                                           processing or treatment of waste; or
                                    (ii)   At any premises, site or location on which
                                           any insured or any contractors or
                                           subcontractors working directly or indirectly
                                           on any insured’s behalf are performing
                                           operations to test for, monitor, clean up,
                                           remove, contain, treat, detoxify, neutralize or
                                           in any way respond to, or assess the effects
                                           of, “pollutants”.

                                    For the purposes of this insurance, hostile fire means
                                    one that becomes uncontrollable or breaks out from
                                    where it is intended to be.

                     (2)    “Pollution cost or expense”.

                                             ***

        28.   Further, the Star Umbrella Policies contain the following endorsement:

              THIS ENDORSEMENT CHANGE THE POLICY. PLEASE READ
              IT CAREFULLY.

              FUNGI OR BACTERIA EXCLUSION (CU 21 27 12 04)

              This endorsement modifies insurance provided under the following:

              COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

              A.     The following exclusion is added to Paragraph 2. Exclusions of
                     Section I – Coverage A – Bodily Injury And Property Damage
                     Liability:

                     2.     Exclusions

                            This insurance does not apply to


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                             FUNGI OR BACTERIA

                             a.     “Bodily injury” or “property damage” which would
                                    not have occurred, in whole or in part, but for the
                                    actual, alleged or threatened inhalation of, ingestion
                                    of, contact with, exposure to, existence of, or
                                    presence of, any “fungi” or bacteria on or within a
                                    building or structure, including its contents,
                                    regardless of whether any other cause, event,
                                    material or product contributed concurrently or in
                                    any sequence to such injury or damage.
                             b.     Any loss, cost or expenses arising out of the abating,
                                    testing for, monitoring, cleaning up, removing,
                                    containing, treating, detoxifying, neutralizing,
                                    remediating or disposing of, or in any way
                                    responding to, or assessing the effects of, “fungi” or
                                    bacteria, by any insured or by any other person or
                                    entity.

                             This exclusion does not apply to any “fungi” or bacteria that
                             are, are on, or are contained in, a good or product intended
                             for bodily consumption.

                                              ***

              C.     The following definition is added to the Definitions Section:

                     “Fungi” means any type or form of fungus, including mold or
                     mildew and any mycotoxins, spores, scents or byproducts produced
                     or released by fungi.

        29.   Finally, the Star Umbrella Policies contain the following condition:

              AMENDMENT OF CONDITIONS ENDORSEMENT – (ANTI-
              STACKING) (45 71 UM 11 06)

              This endorsement modifies insurance provided under the following:

              COMMERCIAL LIABILITY UMBRELLA COVERAGE FORM –
              CU 0001

              I.     Paragraphs 1. of Section III – Limits of Insurance is replaced with
                     the following:




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                      1.      The Limits of Insurance shown in the Declarations and the
                              rules below fix the most we will pay regardless of the
                              number of:

                              a.     Insureds;
                              b.     Claims made, “suits” brought, or number of vehicles
                                     involved;
                              c.     Persons or organizations making claims or bringing
                                     “suits”; or
                              d.     Premiums paid.

               II.    The following Condition is added to Section IV – Conditions:

                      Two Or More Commercial Umbrella Policies Issued By Us

                      If this Umbrella policy or any other Umbrella policy issued to you
                      by us, or any company affiliated with us, apply to the same
                      “occurrence” or pollution condition, the maximum Limit of
                      Insurance under all of the Umbrella policy forms shall not exceed
                      the highest applicable Limit of Insurance available under any one
                      Umbrella Policy.

        All other policy terms, conditions, definitions and exclusions remain unchanged.

                                               ***

        30.    The Star Umbrella Policies contain the following pertinent definitions:

               3.     “Bodily injury” means bodily injury, disability, sickness, or disease
                      sustained by a person, including death resulting from any of these at
                      any time. “Bodily injury” includes mental anguish or other mental
                      injury resulting from “bodily injury”.

                                               ***

               13.    “Occurrence” means an accident, including continuous or repeated
                      exposure to substantially the same general harmful conditions.

                                               ***

               15.    “Pollutants” mean any solid, liquid, gaseous or thermal irritant or
                      contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
                      chemicals, and waste. Waste includes materials to be recycled,
                      reconditioned or reclaimed.



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             16.   “Pollution cost or expense” means any loss, cost or expense arising
                   out of any:

                   a.     Request, demand, order or statutory or regulatory
                          requirement that any insured or others test for, monitor,
                          clean up, remove, contain, treat, detoxify or neutralize, or in
                          any way respond to, or assess the effects of, “pollutants”; or
                   b.     Claim or suit by or on behalf of a governmental authority for
                          damages because of testing for, monitoring, cleaning up,
                          removing, containing, treating, detoxifying or neutralizing,
                          or in any way responding to, or assessing the effects of,
                          “pollutants”.
                                           ***

             18.   “Property damage” means:

                   a.     Physical injury to tangible property, including all resulting
                          loss of use of that property. All such loss of use shall be
                          deemed to occur at the time of the physical injury that caused
                          it; or
                   b.     Loss of use of tangible property that is not physically
                          injured. All such loss of use shall be deemed to occur at the
                          time of the “occurrence” that caused it. . . .

             19.   “Retained limit” means the available limits of “underlying
                   insurance” scheduled in the Declarations or the “self-insured
                   retention”, whichever applies.

             20.   “Self-insured retention” means the dollar amount listed in the
                   Declarations that will be paid by the insured before this insurance
                   becomes applicable only with respect to “occurrences” or offenses
                   not covered by the “underlying insurance”. The self-insured
                   retention” does not apply to “occurrences” or offenses which would
                   have been covered by “underlying insurance” but for the exhaustion
                   of applicable limits.

                                            ***

             23.   “Ultimate net loss” means the total sum, after reduction for
                   recoveries or salvages collectible, that the insured becomes legally
                   obligated to pay as damages by reason of settlement or judgments
                   or any arbitration or other alternate dispute method entered into with
                   our consent or the “underlying insurer’s” consent.

             24.   “Underlying insurance” means any policies of insurance listed in the
                   Declarations under Schedule of “underlying insurance”.

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               25.     “Underlying insurer” means any insurer who provides any policy of
                       insurance listed in the Schedule of “underlying insurance”.

                            IV.     JUSTICIABLE CONTROVERSY

        31.    MHWSC has demanded that Star defend and indemnify it in the Underlying

Lawsuit.

        32.    Star is currently defending MHWSC, subject to a full and complete reservation of

its rights.

        33.    Star seeks a declaration of its rights, duties, and obligations under the Star Primary

Policies and Star Umbrella Policies, if any.

        34.    An actual controversy exists between the parties hereto pursuant to 28 U.S.C. §

2201 et seq., Chapter 37 of the Texas Civil Practice and Remedies Code, and Rule 57 of the Federal

Rules of Civil Procedure. As a result, this Court is vested with the power in the instant case to

declare and adjudicate the rights and other legal relationships of the parties to this action with

reference to the issues herein. Star seeks a declaration of its rights and obligations, if any.

        35.    Neither Star nor any other defendant has sought any other legal action to adjudicate

their respective rights involving the insurance policies.

                                  V.      CAUSES OF ACTION

COUNT I – DECLARATORY RELIEF

        36.    Star re-alleges and incorporates by reference the allegations found in paragraphs 1

to 35 above.

        A.     THERE IS NO COVERAGE UNDER THE STAR PRIMARY POLICIES
               AND STAR HAS NO DUTY TO DEFEND

               1.      The Expected Or Intended Injury Exclusion Precludes Coverage




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        37.    The Star Primary Policies preclude coverage for “bodily injury” or “property

damage” expected or intended from the standpoint of the insured.

        38.    The underlying plaintiffs allege that they notified MHWSC on numerous occasions

about the impurities and unknown elements in the water. They contend that MHWSC had received

59 violations from the TCEQ for having levels of arsenic in the water that were outside acceptable

parameters. Nonetheless, the underlying plaintiffs claim that MHSWC assured them that the water

was safe to consume. The underlying plaintiffs allege that they were subsequently injured by the

contaminated water, and their property was damaged.

        39.    The alleged injuries and damages were so likely as to be expected from MHSWC’s

standpoint. As such, Star has no duty under the Star Primary Policies to defend MHSWC in the

Underlying Lawsuit.

        40.    For the same reason there is no duty to defend, Star could never have a duty to

indemnify.

               2.      The Pollution Exclusion Precludes Coverage

        41.    The Star Primary Policies exclude coverage for “bodily injury” or “property

damage” arising out of the actual, alleged or threatened discharge, dispersal, seepage, migration,

release or escape of “pollutants.”

        42.    The underlying plaintiffs allege that MHSWC provided water service to them for a

period of years. They claim that the water MHSWC provided contained high levels of arsenic, tri-

halomethanes, and other unhealthy and unsafe contaminants, and that consumption of the water

caused them bodily injury and property damage.

        43.    The Star Primary Policies define “pollutants” as “any solid, liquid, gaseous or

thermal irritant or contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals, and


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wastes. Wastes includes materials to be recycled, reconditioned or reclaimed.”

        44.    Arsenic, tri-halomethanes, and other unsafe contaminants in the water MHSWC

proffered the underlying plaintiffs constitute “pollutants.”

        45.    The water was allegedly discharged, disbursed, or released from MHSWC’s site,

and the underlying plaintiffs expressly claim that it was transported through MHSWC’s pipes. As

such, the pollution exclusion in the Star Primary Policies bars Star’s duty to defend.

        46.    For the same reason there is no duty to defend, Star could never have a duty to

indemnify.

               3.      The Fungi Or Bacteria Exclusion Precludes Coverage

        47.    The Star Primary Policies exclude coverage for “bodily injury” or “property

damage” which would not have occurred, in whole or in part, but for the actual, alleged or

threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of, any

“fungi” or bacteria on or within a building or structure, including its contents, regardless of whether

any other cause, event, material or product contributed concurrently or in any sequence to such

injury or damage.

        48.    The alleged “bodily injury” and “property damage” made the basis of the

Underlying Lawsuit would not have occurred, in whole or in part, but for the Underlying Plaintiffs’

actual or threatened ingestion of, contact with, exposure to, and/or the presence of fungi or bacteria

within a building or structure, including its contents.

        49.    Star has no duty to defend MHSWC because all of the alleged injuries and damages

at issue are precluded by the Fungi or Bacteria Exclusion.

        50.    For the same reason there is no duty to defend, Star could never have a duty to

indemnify.


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        B.     THERE IS NO COVERAGE UNDER THE STAR UMBRELLA POLICIES

        1.     The Star Umbrella Policies Are Not Triggered

        51.    The Star Umbrella Policies provide that Star will pay on behalf of the insured the

“ultimate net loss” in excess of the “retained limit” because of “bodily injury” or “property

damage” to which this insurance applies.

        52.    Star does not owe any obligation to pay under any of the Star Umbrella Policies

unless and until the Star Primary Policy for the corresponding policy year is exhausted.

        53.    Even if any of the Star Umbrella Policies were triggered, insurance provided by the

Star Umbrella Policies does not apply.

        2.     The Expected Or Intended Injury Exclusion Precludes Coverage

        54.    The Star Umbrella Policies preclude coverage for “bodily injury” or “property

damage” expected or intended from the standpoint of the insured.

        55.    The underlying plaintiffs allege that they notified MHWSC on numerous occasions

about the impurities and unknown elements in the water. They contend that MHWSC had received

59 violations from the TCEQ for having levels of arsenic in the water that were outside acceptable

parameters. Nonetheless, the underlying plaintiffs claim that MHSWC assured them that the water

was safe to consume. The underlying plaintiffs allege that they were subsequently injured by the

contaminated water, and their property was damaged.

        56.    The alleged injuries and damages were so likely as to be expected from MHSWC’s

standpoint. As such, the Star Umbrella Policies afford no coverage.

        3.     The Lead Exclusion Precludes Coverage

        57.    The Star Umbrella Policies contain an endorsement entitled “Exclusion – Lead”

(the “Lead Exclusion”), which precludes coverage, in relevant part, for “’bodily injury’, ‘property


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damage’…arising out of, resulting from, caused or contributed to by: (1) The toxic or pathological

properties of lead, lead compounds or lead contained in any materials; (2) Any loss, cost or expense

to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead; (3)

Any supervision, instructions, recommendations, warnings or advice given or which should have

been given in connection with parts (1) or (2); (4) Any obligation to share damages with or repay

someone else who must pay damages in connection with parts (1), (2) or (3)…”

        58.    The underlying plaintiffs allege that MHWSC violated multiple provisions of the

Texas Administrative Code, including, but not limited to, regulatory requirements pertaining to

lead and that such violation(s) proximately caused their damages.

        59.    The Lead Exclusion in the Star Umbrella Policies plainly precludes coverage for

any of the underlying plaintiffs’ claims and damages in connection with lead.

        4.     The Total Pollution Exclusion Precludes Coverage

        60.    The Star Umbrella Policies contain a Total Pollution Exclusion, which precludes

coverage for “bodily injury” or “property damage” which would not have occurred in whole or

part but for the actual, alleged or threatened discharge, dispersal, seepage, migration, release or

escape of “pollutants” at any time.

        61.    The Star Umbrella Policies define “pollutants” to mean any solid, liquid, gaseous

or thermal irritant or contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals,

and waste.”

        62.    The underlying plaintiffs allege that they notified MHWSC on numerous occasions

about impurities and unknown elements in the water. They contend that MHWSC had received

59 violations from the TCEQ for having levels of arsenic in the water that were outside acceptable

parameters.   The underlying plaintiffs allege that they were subsequently injured by the


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contaminated water, and their property was damaged.

        63.    Arsenic, tri-halomethanes, and other unsafe containments in the water MHSWC

proffered the underlying plaintiffs constitute “pollutants.”

        64.    The Total Pollution Exclusion in the Star Umbrella Policies precludes coverage for

all of the underlying plaintiffs’ claims.

        5.     The Fungi Or Bacteria Exclusion Precludes Coverage

        65.    The Fungi Or Bacteria Exclusion contained in each of the Star Umbrella Policies

bars coverage for “bodily injury” or “property damage” arising out of the actual, alleged or

threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of, any

“fungi” or bacteria on or within a building or structure, including its contents, regardless of whether

any other cause, event, material or product contributed concurrently or in any sequence to such

injury or damage.

        66.    The alleged “bodily injury” and “property damage” made the basis of the

Underlying Lawsuit would not have occurred, in whole or in part, but for the underlying plaintiffs’

actual or threatened ingestion of, contact with, exposure to, and/or the presence of fungi or bacteria

within a building or structure, including its contents.

        67.    All of the alleged injuries and damages at issue are precluded by the Fungi or

Bacteria Exclusion.

        6.     The Anti-Stacking Condition Applies

        68.    The Star Umbrella Policies contain an anti-stacking provision which is, or may be,

applicable to the Underlying Lawsuit. It provides that if multiple umbrella policies issued by Star

or an affiliated company apply to the same “occurrence” or pollution condition, the maximum




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Limit of Insurance under all of the Umbrella policy forms shall not exceed the highest applicable

Limit of Insurance available under any one Umbrella Policy.

        69.    MHWSC is not entitled to stack coverage in contravention of the Anti-Stacking

provision in the Star Umbrella Policies.

                                               VII.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Star Insurance Company, prays

for judgment as follows:

        A.     The Star Primary Policies afford no coverage, and Star has no duty to defend and/or

indemnify MHWSC in connection with the Underlying Lawsuit, because:

               1.      The Expected Or Intended Injury Exclusion Precludes Coverage;

               2.      The Pollution Exclusion Precludes Coverage;

               3.      The Fungi Or Bacteria Exclusion Precludes Coverage;

        B.     The Star Umbrella Policies afford no coverage, and Star has no duty to defend

and/or indemnify MHWSC in connection with the Underlying Lawsuit, because:

               1.      The Star Umbrella Policies Are Not Triggered;

               2.      The Expected Or Intended Injury Exclusion Precludes Coverage;

               3.      The Lead Exclusion Precludes Coverage;

               4.      The Total Pollution Exclusion Precludes Coverage;

               5.      The Fungi Or Bacteria Exclusion Precludes Coverage;

               6.      The Anti-Stacking Condition Applies, and MHWSC may not stack

coverage;

        B.     Such other and further relief, legal or equitable, general or specific, to which Star

may show itself to be justly entitled and for which it shall ever pray.

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                                Respectfully Submitted,


                                By: /s/ Robert J. Witmeyer____________
                                    ROBERT J. WITMEYER
                                    Attorney-In-Charge
                                    State Bar No. 24091174
                                    Southern District No. 260115
                                    Email: Rob.Witmeyer@cooperscully.com

                                    COOPER & SCULLY, P.C.
                                    900 Jackson Street, Suite 100
                                    Dallas, Texas 75202
                                    Telephone: (214) 712-9500
                                    Telecopy: (214) 712-9540

                                ATTORNEY FOR PLAINTIFF,
                                STAR INSURANCE COMPANY




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